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Exhibit 3
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BAX Drug Enforcement Admmistration
Soe 8701 Morrissette Drive
rene Springfield, Virginia 22152

www.dea.gov

Derek B. Brett, Esq.
Burnside Law Group
Park Central, Unit 9
109 Ilsley Avenue
Dartmouth, NS
Canada B3B 188

Dear Mr. Brett:

This letter concerns the petition for religious exemption which you presented to the United States
Department of Justice, Drug Enforcement Admmistration (DEA), on behalf of your clent, Soul
Quest Ayahuasca Church of Mother Earth, Inc. (Soul Quest), d/b/a the Soul Quest Ayahuasca
Retreat and Weliness Center (“Wellness Center”), as well as the First Amended Complaint (FAC)
(ECF No. 13) and motion for prelmmary injunction (Motion) (ECF No. 15) which you recently
filed m Soul Quest v. Barr, Case No. 6:20-cv-00701 (M.D. Fla.). Thank you for these materials,
which have contributed to our review of the petition. We look forward to opening a dialogue with
you and your client to clarify the religious nature of Soul Quest’s practices under the Religious
Freedom Restoration Act (RFRA) and to explore accommodation of those practices within the
comprehensive regulatory scheme established by the Controlled Substances Act (CSA), as amended.

Through the CSA, Congress established a comprehensive scheme to regulate the importation,
manufacture, and distribution of substances which have legitimate medical uses, but potential for
diversion from authorized channels. Title 21, United States Code §§ 801 (U.S.C. §§ 801) etseq.
Under the CSA, all individuals and entities which import, manufacture, and distribute controlled
substances must be registered by DEA. DEA implements the CSA through comprehensive
regulations governing registration, labeling and packaging, quotas, recordkeeping and reporting,
security and storage, and periodic inspections, among other things. See Title 21, Code of Federal
Regulations §§ 1300-1316 (CFR §§ 1300-1316). The regulations implementing the CSA impose
consistent requirements upon all handlers of controlled substances which govern controlled
substances, addressing import, export, manufacture, distribution, diversion, public safety, storage,
administration, recordkeeping, and disposal. To minimize the risk of diversion, registrants must, for
example, maintain records and make those records available for inspection and audit; they must also
identify the locations at which controlled substances are stored and manufactured. DEA routinely
inspects and assesses the security practices in effect at such locations.

Under RFRA, Congress provided that the “Government shall not substantially burden a person’s
exercise of religion” unless the Government can demonstrate “that application of the burden to the
person .. . is in furtherance of a compelling governmental imterest and ... is the least restrictive
means of furthering that compelling governmental interest.” 42 U.S.C. § 2000bb-l These
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competing mandates require the DEA to consider the “application of the [CSA] to the person—the
particular claimant whose sincere exercise of religion is bemg substantially burdened” and engage in
a “case-by-case consideration of religious exemptions to generally applicable rules” so that it may
“strike sensible balances” of interests based on “the particular practice at issue.” Gonzales v. O
Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 430-31, 436, 439 (2006) (internal
quotation marks omitted).

In compliance with Gonzalez, supra, DEA promulgated interim guidelines to facilitate the
process by which parties can seek exemption from particular regulations implementing the CSA that
would substantially burden their religious exercise. Under this process, DEA can grant appropriate
registrant status to religious applicants, thus bringing the religious use of the controlled substance
within the CSA’s comprehensive regulatory scheme. DEA canalso waive application to the
religious organization of particular regulatory requirements, such as registration fees. Recognizing
that DEA’s regulatory requirements for security were developed for commercial environments, DEA
will work with the religious registrant to revise security requirements to meet the specific situation
of the non-profit applicant. DEA will also work with the applicant to tailor specific provisions of
the regulatory scheme to minimize diversion and safety risks presented by the “particular practice at
issue.” Gonzales, 546 U.S. at439. DEA therefore routinely requests detailed information on
petitions for exemptions from the CSA, as outlined in the guidelines. After careful consideration of
the materials already provided, DEA asks that Soul Quest answer the folowing questions and
provide the information requested below.

The Organization and Belief System of Soul Quest

Soul Quest’s organization and religious belief system appear to have evolved in some respects
between 2017 and the present. We welcome this opportunity to obtain the most up-to-date
information. The undated and unsigned “By Laws” attached to Soul Quest’s Motion (ECF No. 15-
3) provide, for example, that “(t]he name of this organization, shall be the Oklevueha Native
American Church of Soul Quest (ONACSSQ)” and state: “we will educate others in our town in
Georgia, the USA and in various locations anywhere in the world....”. How does the ONACSSQ
relate to Soul Quest? Does Soul Quest currently conduct any ceremonies with or provide ayahuasca
and/or ayahuasca components to or receive ayahuasca and/or ayahuasca components from any
individuals or organizations in Georgia, or any locations in the United States other than Orlando,
Florida? If so, please identify the name and location of each such organization and explain the
organizational relationship of each to Soul Quest.

The ‘Foundation Document” provided with the Motion (ECF No. 15-5) contains the following
statement: “...we have para-church ministries and Indigenous Native American religion based
auxiliaries,” while the Doctrinal Statement (ECF No. 15-8) is described as applicable to “any
Authorized Branch.” Please provide the name and location of all “ministries,” “auxiliaries,” and
“Authorized Branches” and explain their organizational relationship to Soul Quest.

In paragraph one of the FAC, Soul Quest is described as “a Christian syncretic religion based in
Orlando, Florida.” Other documents, however, contain no reference to Christianity, but profess
belief in “Mother Earth,” “Father Sky,” and/or the “Great Spirit.” (See, e.g., ECF Nos. 15 PP 25, 15-
3.) The flyer attached to the Motion, ECF No. 15-13, describes Soul Quest as believing in “the
rights of Mother Earth and in protecting the practice of Mother Earth based South American
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spiritual traditions, ceremonies, and sacred indigenous natural medicines.” Please clarify Soul
Quest’s relationship, as applicable, with Christianity, Mother Earth, Father Sky, and/or the Great
Spirit. In the petition, the “Ayahuasca Manifesto” is described as a sacred document. Is Exhibit 3 to
the FAC, ECF Nos. 13-4 and 13-5, that sacred document? If not, can you provide a copy of the
sacred document?

The Doctrinal Statement states that Soul Quest and its Authorized Branches “accept all natural
substances and their derivatives” for ceremonial use. Has Soul Quest or the Wellness Center used
any controlled substance other than ayahuasca in their ceremonies or wellness activities since
January 2017? Ifso, identify eachsuch controlled substance and identify the date(s), place(s), and
context(s) in which it was administered and how it relates to Soul Quest’s sincere religious beliefs.

On page 13, the petition stated that there is no charge to participate in the sacrament of
ayahuasca. An attachment to the petition, entitled: “Information About Our Weekend Retreats,”
stated: “[w]e do not charge for the medicine, but for the work of accompaniment and supervision,
for meals and accommodation, and for the translation of the facilitators from the country in which
you are staying.” The attachment listed the cost of the ayahuasca ceremony as $175 per session for
a two night minimum, or a total cost of $350, as well as additional costs for various levels of
accommodations and other optional ceremonies. How much are members and authorized
participants charged for ayahuasca administration during weekend retreats? Does Soul Quest or the
Wellness Center currently conduct ayahuasca ceremonies at any location other than the Wellness
Center? If so, please provide the pricing schedule.

The flyer attached to the Motion, ECF No. 15-13, indicates that the Wellness Center offers a
wide range of therapeutic services, including ayahuasca administration, “psycho-spiritual
integration,” naturopathy, yoga, breathwork, reiki/energy medicine, acupuncture, smoking cessation,
and kambo, which we gather is a traditional South American cleansing ritual using the poison of a
frog. Are these therapeutic services offered in connection with ayahuasca ceremonies, or are they
available independently of those ceremonies? Please explain the relationship of these services to the
religious beliefs and mission of Soul Quest. We also note that a letter attached to Soul Quest’s
petition indicates that the Orange County Board of Zoning limited sound devices or amplification of
music atthe Wellness Center and limited it to no more than four special outdoor events, “which
shall not include religious or spiritual retreats.” This implies that non-religious outdoor events may
be held at the Wellness Center. Please explain.

In the FAC and several supporting documents, Soul Quest is described as d/b/a (doing business
as) the Wellness Center. On page 9 of the Foundation Declaration (ECF No. 15-5), however, the
Wellness Center is described as an “independent branch or Free Church” of Soul Quest. Please
clarify the organizational and financial relationship between the two entities. Does Plaintiff Lewis
draw any financial compensation from the Wellness Center? If so, please state the total
compensation he received each year from 2017 through 2019.

Soul Quest’s Procurement, Storage, Distribution, and Disposal of Ayahuasca

Does Soul Quest import ayahuasca in tea form, or does it import the plants used in making the
tea? In either case, identify the source of the imported materials, the quantity imported each year
since January 2017, the location(s) where the materials are stored, and all individuals who have had
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access to the stored materials. If the tea is prepared in the United States, please state where and by
whom the tea is prepared, where and how it is stored, and state the relationship between the amount
of plant material used and the number of doses of tea manufactured.

Does Soul Quest provide the tea to any other individuals or organizations outside Soul Quest’s
ceremonies at the Wellness Center in Orlando? If so, state when, where, and to whom the tea was
distributed.

If Soul Quest has developed written policies or directives governing security, recordkeeping and
storage protocols for controlled substances, please provide copies. If not, please provide a detailed
description of Soul Quest’s current practices. Additionally, please identify the individuals in charge
of security, recordkeeping, storage, and the dispensing of the controlled substances and provide the
full names of the individuals described as members of the “team” in the Wellness Center flyer (ECF
No. 15-13). In order to have all of the information necessary for DEA to reacha determination on
Soul Quest’s petition and determine its eligibility for DEA registration to import, manufacture, and
distribute a schedule I controlled substance, DEA Diversion Investigators must conduct interviews
of these individuals and other leaders and managers, assess the security and recordkeepmg measures
in place, and recommend any upgrades needed to minimize the risk of diversion and protect safety.
Site visits and inspections will follow.

If all tea that has been prepared is not used at an ayahuasca ceremony, or if a batch of tea is no
longer usable, how will Soul Quest dispose of the unused or expired tea? As you will appreciate,
the disposal of unused substances which contain controlled substances, such as prescription
medicines, can present environmental and public safety concerns, as well as concerns of diversion
into illicit markets. Has Soul Quest developed any protocols or standard practices for the proper
disposal of unused or expired controlled substances, including but not limited to ayahuasca tea and
plant residues? Does it maintain records documenting disposal or destruction?

The Code of Ethics attached to the Motion, ECF No. 13-6, describes the primary purpose of Soul
Quest as “to administer Sacramental Ceremonies.” It also states that both “members” and
“Authorized Participants” can take part in the “Ayahuasca Ceremony.” What is the difference
between a “member” and an “Authorized Participant?” What criteria are used to “authorize” a non-
member “participant” to ingest ayahuasca with Soul Quest?

In paragraph 50 of the FAC, Soul Quest alleges that it offers ayahuasca ceremonies three times
per month and that 60 to 80 individuals participate in the ceremony with the support of 20
“facilitators,” including a “licensed physician as medical director, a licensed paramedic, a licensed
emergency medical technician, a psychologist, and a research scientist.” Please identify the
individuals who currently perform these functions and describe their qualifications, professional
education and licensures, and confirm that Soul Quest will make these individuals available to speak
with DEA Diversion Investigators at the parties’ convenience.

Your petition on page 14 states that participants must complete and return a medical form, and
attached thereto was a document titled: “Medical Form.” Is that form still in use? If not, please
provide a copy of the current medical form. Were any medical professionals consulted in the
creation of this form? What scientific literature or studies, if any, provide the basis for the contents
of the form? Ifa participant indicates that they do have a history of one or more of the listed
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ailments, is he or she permitted to participate? How is private medical information protected? Are
women who are pregnant, nursing, or on birth control allowed to partake in the ayahuasca
ceremony? At what age can participants consent to participate in the ayahuasca ceremony? How is
age of the participants verified? What protocols are put into place to ensure minors do not have
access to controlled substances?

Part III “Safety & Security and Protocols for Ayahuasca Ceremonies”, Section C.5 of the
petition states: “Soul Quest has developed an emergency plan for various scenarios, and has
educated its facilitation team to know and understand what steps to take in case of an emergency.”
Please provide a copy of the emergency plan and describe any training given to “facilitators” in how
to respond if a medical emergency arises during or immediately after a ceremony.

Please provide a list of all emergencies or other critical situations which have arisen during or
immediately after ayahuasca ceremonies since January 2017, including a brief description of the
event, the Emergency Medical Service (EMS) and/or law enforcement agency contacted, and the
outcome of the event. Additionally, please describe and explain the actions Soul Quest took related
to the April 1, 2018 medical emergency nvolving Brandon Begley. Since that emergency, has Soul
Quest modified its safety protocols and procedures? If so, please explain how. On page 17, the
petition states that Soul Quest works with local EMS personnel and/or police if additional assistance
is needed for any emergency or other critical situation. Please provide copies of any documentation
memorializing these arrangements and identify the local agencies with which Soul Quest works.

DEA looks forward to your responses to these questions, which will enable us to move forward
with our case-specific analysis of Soul Quest’s petition and consideration of how best to
accommodate religious beliefs and practices within the CSA’s comprehensive regulatory scheme.

Sincerely,

Thomas W. Prevoznik
Deputy Assistant Administrator
Diversion Control Division
